          Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 1 of 14



UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
 ----------------------------------------------------------------- X
                                                                   :
 MICHAEL LADY,                                                     :
                                                                   :
                                 Plaintiff,                        :   COMPLAINT
                                                                   :
                  -against-                                        :   PLAINTIFF REQUESTS A
                                                                   :   TRIAL BY JURY
 MOTUS, LLC,                                                       :
                                                                   :
                                 Defendant.                        :
                                                                   :
 ----------------------------------------------------------------- X


                 Plaintiff, Michael Lady (“Plaintiff” or “Lady”), by his attorney, Andrea Paparella,

for his Complaint against Motus, LLC (hereinafter referred to as “Defendant” or “Motus”) alleges

as follows:

                                              THE PARTIES

                 1.      Plaintiff is a Colorado resident, and citizen of Colorado.

                 2.      Defendant is, upon information and belief, a Massachusetts corporation with

its principal place of business in Boston, Massachusetts. Accordingly, Motus is, for the purposes of

28 U.S.C. §1332, a citizen of Massachusetts.


                                  THE NATURE OF THE ACTION

                 3.      This is a civil action for damages and remedies brought for, among other

things, breach of contract, and a violation of the Massachusetts Wage Act for failure to pay wages.

                 4.      Specifically, the parties negotiated two employment agreements, the first in

2007 (the “2007 Agreement”), and the second in 2013 (the “2013 Agreement”) regarding, among

other things, Motus’s compensation payments to Lady, including Renewal Commissions. See

plaintiff’s Exhibits 2 and 3, respectively.

                 5.      From 2014 through 2016, Motus purported to supersede the 2007 Agreement
and 2013 Agreement with certain Sales Compensation Plans (collectively the “Plans”) that defined
          Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 2 of 14




the commission plan for Motus’s sales staff.

                6.      Lady’s sales commissions were nominally affected by the Plans, but

importantly, the Plans specifically excluded Lady’s 2007 Agreement Renewal Commissions, i.e. the

2007 Agreement was still in effect regarding Renewal Commissions.

                7.      Under the 2007 Agreement, Motus agreed to pay Lady Renewal

Commissions following the termination of his employment for a period equal to the length of his

employment with Motus, i.e. ten years, and under the 2013 Agreement Motus agreed to pay Lady

Renewal Commissions for a period equal to the length of his employment that exceeded five years,

i.e. five years and seven months.

                8.      The parties both executed the 2007 Agreement.

                9.      Motus, however, never executed the 2013 Agreement.

                10.     Both Agreements enabled Motus to void payment of the Renewal

Commissions in the event Lady’s employment was terminated for cause.

                11.     Motus employed Lady for more than ten years, and in or about May 2017,

Motus terminated Lady’s employment for alleged cause.

                12.     Motus claimed Lady improperly treated other employees and clients, but no

evidence of this was ever provided.

                13.     Lady submits that the termination was a pretext for Motus to avoid paying

Lady his Renewal Commissions, which under the 2007 Agreement equal approximately

$4,213,636.80, and under the 2013 Agreement equal approximately $2,352,613.88.


                                    JURISDICTION AND VENUE

                14.     The amount in controversy in this matter exceeds the sum of $75,000.00,

exclusive of interest and costs, and is between citizens of different states. Diversity jurisdiction

therefore exists pursuant to 28 U.S.C. § 1332.




                                                    2
         Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 3 of 14




               15.     A substantial part of the events or omissions giving rise to these claims

occurred within the state of Massachusetts, and venue is therefore appropriate in this Court pursuant

to 28 U.S.C. § 1391(a).

               16.     This Court has jurisdiction over this action under 28 U.S.C. § 1332, and

principles of supplemental jurisdiction, 28 U.S.C. § 1367.

               17.     Venue is proper in this district under 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to Lady’s claims occurred in the District of Massachusetts.

               18.     Lady is an employee within the meaning of the Massachusetts Wage Act

§§ 148, 150 whose Renewal Commission is a “wage” as defined in the Act.

               19.     Lady filed a complaint with the Massachusetts Attorney General, and the

Attorney General assented in writing to Lady instituting and prosecuting in his own name, and on

his own behalf, a civil action for damages incurred. See Plaintiff’s Exhibit 1.


                                               FACTS

               20.     In or about 2007, Motus recruited Lady to join a startup venture known at

that time as Corporate Reimbursement Services (“CRS”).

               21.     CRS’s primary service was gathering and managing auto allowance data and

software for companies that employ large numbers of drivers/mobile employees.

               22.     At this time, Lady was working for a competitor service in the same

industry, and he was one of that company’s top sales people.

               23.     The President of CRS, Gregg Darish (“Darish”), was a former coworker of

Lady, and knew Lady’s abilities and determined he would be a good fit at CRS.

               24.     Details concerning Lady’s compensation were negotiated over a period of

several months between Darish and Lady.



                                                   3
         Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 4 of 14



               25.     In or about June 2007, both CRS and Lady memorialized their respective

obligations by signing an Employment Agreement (the “2007 Agreement”). See plaintiff’s Exhibit

2.

               26.     The 2007 Agreement was drafted by CRS, or, upon information and belief,

an agent of CRS.

               27.     Lady was responsible for business development and client recruitment for

the western United States territory, within that territory Lady maintained approximately 95% of

Motus’s client base, i.e. clients were brought on exclusively by Lady.

               28.     Lady was also closely involved in ongoing client/account management

renewals as well as some of the larger client implementations.

               29.     Of particular importance to the parties in the 2007 Agreement was the

existence of a clause regarding commissions that would be paid to Lady if his employment ended—

the so-called “Renewal Commissions.”

               30.     The 2007 Agreement also contained a clause that stated if Lady’s

employment was terminated “for cause” he would not be entitled to any Renewal Commissions “on

contracts signed after the date of termination.” See para. 2(e) of Exhibit 2 (emphasis added).

               31.     The same clause contained language that defined Motus’s obligation to pay

Renewal Commissions when Lady’s employment ends for “any other reason” other than cause.

               32.     The clause states:

               If Employee is employed for more than five (5) years, Employee’s right to such
               continued Renewal Commission will last for the equal amount of time Employee
               worked for the Company, and the last completed month of employment shall define
               the term of such obligation on the part of the Company (e.g. if employed for 6 years,
               6 months and 3 weeks, Employee would be entitled to those Renewal Commission
               Employee otherwise would have received if employed for another 6 years and 6



                                                  4
        Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 5 of 14



             months that follow the date of termination. Id.

             33.    Under this clause of the 2007 Agreement, Motus owes Lady ten years of

Renewal Commissions, or $4,213,636.80.

             34.    The following is a list of all of Plaintiff’s clients with their corresponding

annual Renewal Commissions:

             CLIENT                                 RENEWAL COMMISSION OWED

     1. AM                                            $20,034.00
     2. BSH                                           $5,712.00
     3. BC                                            $1,830.40
     4. DVC                                           $6,500.00
     5. DE                                            $7,781.00
     6. EEG                                           $300.00
     7. G&MOC                                         $761.90
     8. GR                                            $360.00
     9. GBL                                           $319.00
     10. GC                                           $8,736.00
     11. HD                                           $57,780.00
     12. HM                                           $1,450.00
     13. JG                                           $12,476.38
     14. LT                                           $13,659.00
     15. MDTC                                         $231,512.00
     16. NG                                           $11,406.10
     17. PT                                           $7,059.00
     18. PB                                           $12,877.80
     19. PP&S                                         $351.00
     20. SD                                           $1,170.00
     21. SE                                           $507.00
     22. SPA                                          $9,021.00
     23. TB                                           $360.90
     24. VA                                           $3,150.00
     25. W&Z                                          $917.60
     26. WL                                           $83.60
     27. WSS                                          $5,248.00
                              TOTAL                   $421,363.68



                                                5
         Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 6 of 14




               35.     The annual Renewal Commissions that Motus paid Lady comprised

approximately 70% of his total annual compensation.

               36.     In or about February 2013, Motus presented Lady with a revised

employment agreement. See plaintiff’s Exhibit 2.

               37.     This 2013 Agreement was similar in many respects to the 2007 Agreement,

except it reduced Lady’s Renewal Commissions in half, i.e. Motus would only pay Lady Renewal

Commissions for a period of five years and seven months. See para. 2(c)(iii) of Exhibit 3.

               38.     In 2013, the parties met to discuss Lady’s overall compensation package,

including Motus’s payment of the Renewal Commissions.

               39.     For example, Motus wanted to transition Lady away from a commission plan

to shares in company stock.

               40.     The parties, however, never reached an agreement on Motus paying him in

company stock.

               41.     Lady signed the 2013 Agreement, but at the time Lady returned the signed

2013 Agreement, Motus was embroiled in multiple lawsuits, and never countersigned the 2013

Agreement.

               42.     In or about June 2014, CRS changed its name to Motus, LLC.

               43.     Motus’s services were unchanged, and Lady’s duties and responsibilities did

not change either.

               44.     Several years later, when Motus terminated Lady’s employment, the

termination letter sent to Lady was accompanied by a copy of Motus’s unsigned 2013 Agreement.




                                                 6
          Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 7 of 14



                45.     Beginning in 2014, and each year thereafter, Motus distributed to its sales

staff, including Lady, a Sales Compensation Plan (the “Plans”).

                46.     The Plans were designed to define the commissions for its sales staff,

including Lady.

                47.     The Plans’ net effect on Lady, and all other salespeople, was to reduce their

commission rates on new clients; the rates were now paid out according to an annual sales plan

instead of individual client contract.

                48.     The Plans, however, did not affect Lady’s pre-existing client commissions,

i.e. the Renewal Commissions.

                49.     Between 2014 and 2017, while Lady was employed by Motus, Motus failed

to pay Plaintiff certain commissions totaling $61,133.95.

                50.     The following is a list of all of Lady’s clients with their corresponding owed

commissions:

                CLIENT                                 COMMISSIONS OWED

      1. AST                                            $225.00
      2. CDA                                            $13,890.00
      3. CORE                                           $3,372.00
      4. E&JG                                           $2,265.60
      5. EFT                                            $1,785.90
      6. IR                                             $3,200.25
      7. MDTC                                           $4,865.00
      8. NVSV                                           $26,110.00
      9. NVSV-R                                         $3,916.50
      10. SP                                            $353.70
      11. WM                                            $1,150.00

                                   TOTAL                $61,133.95




                                                   7
         Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 8 of 14



                51.     During his ten-year employment with Motus, Lady consistently performed at

the highest levels of sales produced at Motus.

                52.     Motus bestowed on Lady numerous awards for outstanding sales

performance including “Rockstar of the Year” for 2014 and 2015.

                53.     Lady was one of approximately twelve of Motus’s salespeople, and his sales

performance was the largest in the company by a wide margin; his total revenue contribution to the

company was approximately 44% of the company’s entire sales.

                54.     On or about May 9, 2017, Lady conference-called with the Chief Revenue

Officer Rob Headley and Chief People Officer Kristen Dooley (“Dooley”) to have, according to

Motus, his annual review.

                55.     During this conversation, Dooley told Lady that his position was being

eliminated, and he was being terminated for cause.

                56.     Lady asked what cause existed for the termination of his employment, but

Dooley provided nothing specific. Dooley told Lady the specific reasons for termination for cause

would be included in a termination letter.

                57.     Lady emailed Dooley, and requested more information about why his

position was terminated, but neither Motus nor Dooley responded to this request.

                58.     The stated reasons for the termination of his employment as outlined in the

termination letter was the first time the Lady heard of such criticism or issues.

                59.     Lady never received his 2016 annual review.

                                          FIRST CLAIM
                              (Breach of Contract – 2007 Agreement)

                60.     Lady repeats and realleges the allegations contained in paragraphs 1 through



                                                   8
          Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 9 of 14




59 as if separately set forth herein.

                61.     Lady has performed all acts required of him under the 2007 Agreement.

                62.     By its actions described herein, Motus breached its contractual obligations

under the 2007 Agreement.

                63.     Motus’s breach was material.

                64.     By its actions and inactions described herein, Motus is in default and has

materially breached its obligations under the 2007 Agreement.

                65.     As a result of these material breaches, Lady was irreparably harmed.

                66.     Lady has no adequate remedy at law, and can only be made whole if Motus

is required to specifically perform the terms of the 2007 Agreement.

                67.     In the alternative, Lady was damaged in an amount to be proven at trial, but

believed to exceed the amount of $4 million.


                                        SECOND CLAIM
                               (Breach of Contract – 2013 Agreement
                                        In The Alternative)

                68.     Lady repeats and realleges the allegations contained in paragraphs 1 through

67 as if separately set forth herein.

                69.     Lady performed all acts required of him under the 2013 Agreement.
                70.     By its actions described herein, Motus breached its contractual obligations

under the 2013 Agreement.

                71.     Motus’s breach was material.

                72.     By its actions and inactions described herein, Motus defaulted and materially

breached its obligations under the 2013 Agreement.

                73.     Because of Motus’s material breaches Lady was irreparably harmed.

                74.     Lady has no adequate remedy at law, and can only be made whole if Motus




                                                  9
         Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 10 of 14




is required to specifically perform the terms of the 2013 Agreement.

                75.        In the alternative, Lady was damaged in an amount to be proven at trial, but

believed to exceed the amount of $2 million.


                                         THIRD CLAIM
                   (Breach of Contract – Unpaid Commissions Under The Plans)

                76.        Lady repeats and realleges the allegations contained in paragraphs 1 through

75 as if separately set forth herein.

                77.        Lady performed all acts required of him under the Plans.

                78.        By its actions described herein, Motus breached its contractual obligations

under the Plans.

                79.        The breach by Motus was material.

                80.        By its actions and inactions described herein, Motus is in default and has

materially breached its obligations under the Plans.

                81.        As a result of these material breaches, Lady has been irreparably harmed by

this breach of contract.

                82.        Lady has no adequate remedy at law, and can only be made whole if Motus

is required to specifically perform the terms of the Plans.

                83.        In the alternative, Lady was damaged in an amount to be proven at trial, but

believed to exceed the amount of $61,133.95.


                                            FOURTH CLAIM
                                           (Unjust Enrichment)

                84.        Lady repeats and realleges the allegations contained in paragraphs 1 through

83 as if separately set forth herein.

                85.        Motus was enriched by Lady’s labor and services.




                                                     10
         Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 11 of 14




                86.      Motus was enriched at lady’s expense.

                87.      It is against equity and good conscience to permit Motus to retain that which

is owed to Lady.


                                        FIFTH CLAIM
                       (Breach of Covenant of Good Faith and Fair Dealing)

                88.      Lady repeats and realleges the allegations contained in paragraphs 1 through

87 as if separately set forth herein.

                89.      Implied in every contract is a covenant of good faith and fair dealing. This

covenant prohibits either party from engaging in any act that will have the effect of destroying or

injuring the right of the other party to receive the fruits of the contract.

                90.      The parties' purpose in having these Agreements was so that Lady could earn

his commissions while providing the necessary expertise to aid in the establishment and subsequent

expansion of the business.

                91.      Due to deliberate refusal to adhere to the terms of the Agreements it has

prevented Plaintiff from receiving the benefits of the Agreements. Motus’s conduct is a breach of

the duty of good faith and fair dealing implied in the Agreements, and the stated reason for the

termination of Lady’s employment is a pretext for Motus’s breach of the Agreements.

                92.      Lady has no adequate remedy at law. Lady can only be made whole if

Motus is required to specifically perform the terms of the Agreements.

                93.      In the alternative, Lady was damaged as set forth in the preceding

paragraphs.

                                         SIXTH CLAIM
                         (Violation of Massachusetts Wage Act Section 148
                          Unpaid Wages/Commissions Under The Plans)

                94.      Lady repeats and realleges the allegations contained in paragraphs 1 through




                                                    11
         Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 12 of 14




93 as if separately set forth herein.

                95.      Lady was an employee within the meaning of the Massachusetts Wage

Act §§ 148, 150 whose Renewal Commission is a “wage” as defined in the Act.

                96.      Lady filed a complaint with the Massachusetts Attorney General, and the

Attorney General assented in writing to Lady instituting and prosecuting in his own name and on his

own behalf, a civil action for damages incurred.

                97.      The amount of Lady’s commissions has been definitively determined, and

has become due and payable to him.


                                        SEVENTH CLAIM
                         (Violation of Massachusetts Wage Act Section 148
                      Unpaid Wages/Commissions Under The 2007 Agreement)

                98.      Lady repeats and realleges the allegations contained in paragraphs 1 through

97 as if separately set forth herein.

                99.      Lady is an employee within the meaning of the Massachusetts Wage Act

§§ 148, 150 whose Renewal Commission is a “wage” as defined in the Act.

                100.     Lady filed a complaint with the Massachusetts Attorney General, and the

Attorney General assented in writing to Lady instituting and prosecuting in his own name and on his

own behalf, a civil action for damages incurred.
                101.     The amount of Lady’s commissions has been definitively determined, and

has become due and payable to him.


                                        EIGHTH CLAIM
                         (Violation of Massachusetts Wage Act Section 148
                      Unpaid Wages/Commissions Under The 2013 Agreement)

                102.     Lady repeats and realleges the allegations contained in paragraphs 1 through

101 as if separately set forth herein.




                                                   12
         Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 13 of 14




                103.   Lady is an employee within the meaning of the Massachusetts Wage Act

§§ 148, 150 whose Renewal Commission is a “wage” as defined in the Act.

                104.   Lady filed a complaint with the Massachusetts Attorney General, and the

Attorney General assented in writing to Lady instituting and prosecuting in his own name and on his

own behalf, a civil action for damages incurred.

                105.   The amount of Lady’s commissions has been definitively determined, and

has become due and payable to him.


                WHEREFORE, while reserving the right to seek additional damages as available,

Plaintiff demands judgment against Defendant as follows:


                A.     On the First Claim, for specific performance of the 2007 Agreement or,

alternatively, for damages exceeding the sum of four million dollars;

                B.     On the Second Claim, for specific performance of the 2013 Agreement or,

alternatively, for damages exceeding the sum of two million dollars;

                C.     On the Third Claim, for specific performance of the Plans, alternatively, for

damages exceeding the sum of sixty thousand dollars;

                D.     On the Fourth Claim, damages including attorney’s fees, interest and costs;

                E.     On the Fifth Cause of Action, damages including attorney’s fees, interest and
costs;

                F.     On the Sixth Claim, damages including treble damages, attorney’s fees,

interest and costs.

                G.     On the Seventh Claim, damages including treble damages, attorney’s fees,

interest and costs.

                H.     On the Eighth Claim, damages including treble damages, attorney’s fees,

interest and costs.



                                                   13
       Case 1:17-cv-11621-MLW Document 1 Filed 08/29/17 Page 14 of 14




             I.     Such other and further relief as this Court deems just and proper.


Dated: August 29, 2017
       New York, N.Y.


                                                   Law Office of Andrea Paparella, PLLC

                                                   By: _/s/ Andrea M. Paparella_________
                                                   Andrea M. Paparella (BBO# 658254)
                                                   150 W. 28th Street, Suite 1603
                                                   New York, New York 10001
                                                   Telephone: (212) 675-2523
                                                   Facsimile: (914) 462-3287
                                                   Email: ap@andreapaparella.com


                                                   OF COUNSEL

                                                   BRENDAN CHAO
                                                   Attorney & Counsellor at Law

                                                   By:     _/s/ Brendan Chao____________
                                                           Brendan Chao
                                                          (pro hac vice motion forthcoming)
                                                           50 Merrick Road, Suite 200
                                                           Rockville Centre, N.Y. 11570
                                                           (516) 466-2033 (Telephone)
                                                           (516) 466-2007 (Facsimile)
                                                           bchao@bchaolaw.com

                                                   Attorneys for Plaintiff




                                              14
